                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

 IN RE:                                      )
                                             )              Chapter 11
 Alabama Partners, LLC                       )              Case No. 17-03469-TOM
              Debtor.                        )
 IN RE:                                      )
                                             )              Chapter 11
 Bamachex, Inc.                              )              Case No. 17-03471-TOM
        Debtor.                              )
 IN RE:                                      )
                                             )              Chapter 11
 Maryland LC Ventures, LLC                   )              Case No. 17-03471-TOM
             Debtor.                         )
 IN RE:                                      )
                                             )              Chapter 11
 Maryland Pizza, Inc.                        )              Case No. 17-03473-TOM
              Debtor.                        )
 IN RE:                                      )
                                             )              Chapter 11
 PG County Partners, LLC                     )              Case No. 17-03474-TOM
              Debtor.                        )
 IN RE:                                      )
                                             )              Chapter 11
 PG County Pizza, Inc.                       )              Case No. 17-03475-TOM
              Debtor.                        )
                                             )


                    MOTION FOR RELIEF FROM AUTOMATIC STAY

          NOW COMES the Movant, Unifi Equipment Finance, Inc., f/k/a Ervin Leasing Company

 (“Unifi”), a creditor here, by its attorneys, Norman, Wood, Kendrick & Turner, and for its

 Motion for Relief from Automatic Stay in the above-styled Maryland LC Ventures, LLC

 bankruptcy proceeding, states as follows:

          1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334, as

 referred under 28 U.S.C. § 157, and it constitutes a “core proceeding” within the meaning of the




Case 17-03469-TOM7       Doc 223     Filed 03/26/18 Entered 03/26/18 16:25:51          Desc Main
                                   Document      Page 1 of 3
 latter statute. This Motion is made pursuant to Bankruptcy Rule 4001, and in conformity with

 Bankruptcy Rule 9014.

        2.      The Debtor in this proceeding is Maryland LC Ventures, LLC (“Maryland

 Ventures”). Maryland Ventures is one of six cases filed in this Court which by prior order of this

 Court are being jointly administered. The various cases have similar owners, are in similar

 business and are operated and managed by the same management team.

        3.      On or about August 26, 2014, Unifi and the Debtor entered into an Equipment

 Finance Agreement for certain security system equipment (“Unifi Agreement”). A copy of the

 Equipment Finance Agreement and supporting documents are attached as Exhibit A and

 incorporated herein by reference.

        4.      The Unifi Agreement requires a down payment of $3,491.18 and 58 monthly

 payments to Unifi in the amount of $1,495.59 plus any applicable taxes.

        5.      As of March 2018, the payoff balance due on the account was $34,398.57, plus

 attorney fees and costs. Debtor is delinquent on said account for October 2017 through February

 2018 payments in the amount of $7,777.95.

        6.      Unifi will suffer irreparable harm and injury if it is not allowed by this Court to

 immediately take possession of its equipment to preserve and protect it, to prevent further

 depreciation or decline in value and to put the equipment in safe-keeping.

        7.      The Debtor does not oppose this Motion for Relief from Automatic Stay.

        WHEREFORE, Movant prays that upon a final hearing of this Motion, that the stay

 pursuant to 11 U.S.C. § 362 be modified to permit it to foreclose its security interest in the

 property referred to hereinabove in accordance with the attached Consent Order.




                                                 2

Case 17-03469-TOM7        Doc 223      Filed 03/26/18 Entered 03/26/18 16:25:51          Desc Main
                                     Document      Page 2 of 3
        Respectfully submitted this the 26th day of March, 2018.

                                                     /s/Mark P. Williams
                                                     ______________________________
                                                     Mark P. Williams, Attorney for
                                                     Unifi Equipment Finance, Inc.

 OF COUNSEL:

 NORMAN, WOOD, KENDRICK AND TURNER
 Ridge Park Place, Suite 3000
 1130 22nd Street South
 Birmingham, AL 35205
 (205) 328-6643

                                CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the foregoing upon counsel of record in this
 cause via ECF or if not an ECF participant, by e-mail:

 Robert H. Adams, Esq.—radams@rumberger.com
 R. Scott Williams, Esq.—swilliams@rumberger.com
 Frederick Darrell Clarke, III, Esq.—fclarke@rumberger.com

 by placing a copy of same in the U. S. Mail, postage prepaid and properly addressed on this the
 26th day of March, 2018, as follows:

 Maryland LC Ventures, LLC
 P.O. Box 551267
 Jacksonville, FL 32255

                                                     /s/Mark P. Williams
                                                     ______________________________
                                                     OF COUNSEL




                                                3

Case 17-03469-TOM7        Doc 223     Filed 03/26/18 Entered 03/26/18 16:25:51          Desc Main
                                    Document      Page 3 of 3
